Case: 2:20-cv-00025-WOB-CJS Doc #: 65-19 Filed: 12/20/21 Page: 1 of 2 - Page ID#:
                                    1164




                           EXHIBIT K
                             CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER
       Case:
            1DWLYH 2:20-cv-00025-WOB-CJS
            0HVVDJHV
                                  Number Redacted Doc   #: 65-19 'LUHFWLRQ
                                                   7LPHVWDPS
                                            Name/Number Redacted
                                                   
                                                                      Filed: 12/20/21 Page: 2 of 2 - Page ID#:
                                                                     ,QFRPLQJ
                                  1LFN6DQGPDQQ    30 87& 1165 %RG\
                                                                    RZQHU                                     7KH\VKRZHGWKHVDPHFOLSOLNHWLPHVRI\RXVFUHDPLQJLQ
                                                                   Name/Number Redacted                       WKHEDFNJURXQGJUDEKLVGLFNDQGWZLVW,ZDVG\LQJGXGH

                                                                                                              3DUWLFLSDQWV

                                                                                                                 3DUWLFLSDQW            'HOLYHUHG      5HDG     3OD\HG
                                                                                                                 Number Redacted1LFN                  
                                                                                                                 6DQGPDQQ                              
                                                                                                                                                       
                                                                                                                                                       
                                                                                                                                                       30 87
                                                                                                                                                       &
                                                                                                                 Name/Number Redacted


                                                                   Number Redacted
                                                                   1LFN6DQGPDQQ
                                                                   RZQHU




                                                                                                                 Number Redacted1LFN
                                                                                                                 6DQGPDQQ

                                                                                                              6RXUFH([WUDFWLRQ/RJLFDO 
                                                                                                              6WDWXV5HDG
                                                                                                              0HVVDJH7\SH
                                                                                                              L0HVVDJH
                                                                                                              )ROGHU
                                                                                                              ,QER[
        1DWLYH                          Number Redacted        Name/Number Redacted   7LPHVWDPS          'LUHFWLRQ
            0HVVDJHV                                                                         2XWJRLQJ
                                            1LFN6DQGPDQQ                                 30 87&            %RG\
                                            RZQHU                                                             , PDPDWWLPHV
                                                                   Number Redacted
                                                                                                              3DUWLFLSDQWV
                                                                   1LFN6DQGPDQQ
                                                                   RZQHU
                                                                                                                 3DUWLFLSDQW            'HOLYHUHG      5HDG     3OD\HG
                                                                                                                 Name/Number Redacted
                                                                                                                                        
                                                                                                                                        
                                                                                                                                        30 87&
                                                                                                                 Number Redacted1LFN
                                                                                                                 6DQGPDQQ

                                                                                                              6RXUFH([WUDFWLRQ/RJLFDO 
                                                                                                              6WDWXV6HQW
                                                                                                              0HVVDJH 7\SH
                                                                                                              L0HVVDJH
                                                                                                              )ROGHU
                                                                                                              6HQW
        1DWLYH                          Name/Number Redacted
                                                                   Number Redacted        7LPHVWDPS          'LUHFWLRQ
            0HVVDJHV                                                                         ,QFRPLQJ
                                                                   1LFN6DQGPDQQ          30 87&            %RG\
                                                                   RZQHU                                      NameXGLGQ·WHYHQWDJ1LFNLQXUSRVW
                                                                   Name/Number Redacted
                                                                                                              3DUWLFLSDQWV

                                                                                                                 3DUWLFLSDQW            'HOLYHUHG      5HDG     3OD\HG
                                                                                                                 Number Redacted1LFN                  
                                                                                                                 6DQGPDQQ                              
                                                                                                                                                       
                                                                                                                                                       
                                                                                                                                                       30 87
                                                                                                                                                       &
                                                                                                                 Name/Number Redacted



                                                                   Number Redacted
                                                                   1LFN6DQGPDQQ
                                                                   RZQHU




                                                                                                                 Number Redacted1LFN
                                                                                                                 6DQGPDQQ

                                                                                                              6RXUFH([WUDFWLRQ/RJLFDO 
                                                                                                              6WDWXV5HDG
                                                                                                              0HVVDJH7\SH
                                                                                                              L0HVVDJH
                                                                                                              )ROGHU
                                                                                                              ,QER[
  Exhibit #
                       exhibitsticker.com




Sandmann 27
  09/14/21 - SL                                          CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER N.S. 000717                                                            
